
14 So.3d 281 (2009)
S.L.U., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D09-0772.
District Court of Appeal of Florida, First District.
July 31, 2009.
Nancy A. Daniels, Public Defender, and Archie F. Gardner, Jr., Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Giselle Denise Lylen and Brooke Poland, Assistant Attorneys General, Tallahassee, for Appellee.
PER CURIAM.
Appellant, S.L.U., appeals from an order committing her to a moderate-risk residential program and argues that the trial court erred in departing from the Department of Juvenile Justice's recommendation of supervised probation. When the trial court entered its order, it did not have the benefit of the Florida Supreme Court's new, more rigorous analysis in which trial courts must engage prior to departing from the Department's recommendation. See E.A.R. v. State, 4 So.3d 614 (Fla.2009).
Accordingly, we REVERSE the order and REMAND to provide the trial court an opportunity to enter an order in compliance with E.A.R. See M.J.S. v. State, 6 So.3d 1268 (Fla. 1st DCA 2009); E.E. v. State, 7 So.3d 1140 (Fla. 4th DCA 2009).
BARFIELD, DAVIS, and ROBERTS, JJ., concur.
